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                             UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

Sriram Shanmugavelandy,                              )
                                                     )
        Plaintiff.                                   )
                                                     )       Case No. 22-cv-02975
                          v.                         )
                                                     )       Judge Sharon Johnson Coleman
AbbVie, Inc.,                                        )
                                                     )
        Defendant.                                   )
                                                     )

                               MEMORANDUM OPINION AND ORDER

        Pro se plaintiff, Sriram Shanmugavelandy 1 (“Plaintiff”) filed his Complaint against Defendant

AbbVie, Inc. (“Defendant”) for national origin discrimination and retaliation in violation of Title VII.

Before the Court is Plaintiff’s motion for summary judgment and Defendant’s motion for summary

judgment. The Court held oral argument on the motions on April 24, 2025. For the following reasons,

the Court grants Defendant’s motion for summary judgment [139] and denies Plaintiff’s motion for

summary judgment [232, 235, 236].

BACKGROUND

        Litigants in the Northern District of Illinois are required to abide by Local Rule 56.1 in their

summary judgment filings. A party moving for summary judgment is required to file “a statement of

material facts . . . that attaches the cited evidentiary material” with its motion. Local Rule (“L.R.”)

56.1(a)(2). Each statement must “be supported by citation to the specific evidentiary material,



1
  While the Court acknowledges that Plaintiff is proceeding pro se, Plaintiff previously had multiple different
attorneys representing him in this matter. Despite being represented throughout the matter, Plaintiff was
unable to work with his attorneys and ultimately decided that he was better suited to represent himself. Plaintiff
has represented himself throughout the duration of the summary judgment briefing, including at oral argument.
His status as a pro se litigant does not excuse his failure to comply with the Local Rules. See Coleman v. Goodwill
Indus. of Southeastern Wis., Inc., 423 Fed. Appx. 642, 642 (7th Cir. 2011) (“Though courts are solicitous of pro se
litigants, they may nonetheless require strict compliance with the local rules.”).
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including the specific page number, that supports it.” L.R. 56.1(d)(2). The evidentiary material

submitted in support of the statement must “be included as numbered exhibits . . . .” L.R. 56.1(d)(3).

These requirements apply to the material statement of facts, as well as to any response or statement

of additional material facts. The pleading must “consist of concise numbered paragraphs” which may

“not exceed 80 numbered paragraphs.” L.R. 56.1(d)(1), (d)(5).

         The party opposing summary judgment is required to file a response to the moving party’s

statement of material facts “that attaches any cited evidentiary materials not attached to [the moving

party’s] statement [of material facts].” L.R. 56.1(b)(2). In responding to the statement of material

facts, the non-moving party must admit the asserted fact, dispute the asserted fact, or admit in part

and dispute in part the asserted fact. L.R. 56.1(e)(2). The response must consist of numbered

paragraphs corresponding to the numbered paragraphs in the statement of material facts or statement

of additional material facts. L.R. 56.1(e)(1). It may not include any new facts that are not fairly

responsive to the asserted fact to which the response is made nor contain legal argument. L.R.

56.1(e)(2).

         If the non-moving party wishes to assert a new fact that is not responsive to the moving party’s

asserted facts, the party opposing summary judgment can file a statement of additional material facts,

with cited evidentiary material that is not attached to the statement of material facts or the response.

L.R. 56.1(b)(3).

    I.        Plaintiff Fails to Abide by Local Rule 56.1

         Plaintiff failed to abide by L.R. 56.1 in three separate pleadings: (1) Plaintiff’s response to

Defendant’s statement of material facts; (2) Plaintiff’s statement of additional material facts; and (3)

Plaintiff’s statement of material facts in support of Plaintiff’s motion for summary judgment. The

Court will address the deficiencies in each of the pleadings.




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        1. Plaintiff’s Response to Defendant’s Local Rule 56 Statement of Material Facts in Support of Defendant’s
           Motion for Summary Judgment

        Plaintiff’s response to Defendant’s L.R. 56 statement of material facts (Dkt. 220) is improper

in several ways discussed below. While the Court has discretion to require strict compliance with L.R.

56.1, it may insist on doing so. Stevo v. Frasor, 662 F.3d 880, 886-87 (7th Cir. 2011). The Court will

exercise its discretion here due to the importance of promoting clarity in addressing factual disputes

at summary judgment. Indeed, it is not the Court’s duty to go on an expedition in adjudicating such

motions. See Contilli v. Loc. 705 Int’l Bhd. of Teamsters Pension Fund, 559 F.3d 720, 724 (7th Cir. 2009)

(“Judges are not like pigs, hunting for truffles buried in briefs.”) (quoting United States v. Dunkel, 927

F.2d 955, 956 (7th Cir. 1991)).

                a. Inclusion of Additional Information

        Here, Plaintiff’s response admits to many of Defendant’s material statements, but goes further

by providing additional, non-responsive information. Doing so is improper. McGuire v. United Parcel

Service, 152 F.3d 673, 675 (7th Cir. 1998). Accordingly, the Court strikes Plaintiff’s Response Nos. 8–

9, 23–25, 33–71, and 73–79 and deems the statements admitted.

                b. Responses Containing Legal Argument

        Courts in this district have disregarded legal arguments asserted in L.R. 56.1 submissions. See,

e.g., Venticinque v. City of Chicago, No. 21 C 3084, 2025 WL 92536, at *1 (N.D. Ill. Jan. 13, 2025) (Ellis,

J.); Fetzer v. Wal-Mart Stores, Inc., No. 13 C 9312, 2016 WL 792296, at *8 (N.D. Ill. Mar. 1, 2016)

(Gottschall, J.) This Court will follow suit. Accordingly, the Court strikes Plaintiff’s Response Nos.

14– 22, 26– 32, and 72 and deems the statements admitted.

        2. Plaintiff’s Statement of Additional Material Facts in Response to Defendant’s Motion for Summary
           Judgment

        Plaintiff submitted a statement of additional material facts in response to Defendant’s motion

for summary judgment. (Dkt. 221.) The statement of additional material facts consists of a variety of


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unordered numerical, alphabetical, and bullet point paragraphs. While this alone qualifies as a basis

for striking Plaintiff’s statement of additional facts, the Court notes that the pleading is also flawed in

at least one of two other respects: (1) the statement cites evidentiary material that does not support

the information proffered in the statement; and/or (2) the statement fails to cite any evidentiary

material to support the proffered statement. Therefore, the Court strikes Plaintiff’s statement of

additional material facts.

         3. Plaintiff’s Statement of Material Facts in Support of Plaintiff’s Motion for Summary Judgment 2

         Plaintiff’s statement of material facts in support of his motion for summary judgment (Dkt.

236) suffers from similar flaws as well. 3

                  a. Unconcise Paragraph Numbering

         Like Plaintiff’s statement of additional material facts, Plaintiff’s statement of material facts

consists of non-chronological numerical paragraphs, some of which are duplicative of the same

number, include lettered paragraphs and bullet points, and skip numbers in labeling the paragraphs. 4

Due to these flagrant violations, which exhaust the Court’s time and resources, the Court strikes

Plaintiff’s Statement Nos. 31–33 on page 5, 15-19 on page 5, 20–27 on page 6, 28–34 on page 7, and

the second 72 on page 9. While striking these paragraphs does not remedy Plaintiff’s transgression, it

removes the violations of the duplicative numbered paragraphs.



2
  Defendant also argues that Plaintiff’s memorandum in support of Plaintiff’s motion for summary judgment
violates Local Rule 56.1(g) for failing to cite specific paragraphs in the statement of facts in support of its factual
statements. Local Rule 56.1(g) requires a memorandum of law filed in support of a motion for summary
judgment “cite directly to specific paragraphs in the LR 56.1 statements or responses” when addressing facts.
L.R. 56.1(g). Defendant argues that the Court should, at a minimum, “disregard all of the unsupported factual
assertions that appear throughout Plaintiff’s memorandum.” The Court finds that striking all of the statements
in Plaintiff’s statement of material facts, as described in the previous section, is sufficient to address this issue.
3
  While Plaintiff filed three separate motions for summary judgment (one of which was filed under seal), Plaintiff
only submitted the statement of material facts under seal. Therefore, the Court will reference only the docket
number in the sealed motion in analyzing Plaintiff’s statement of material facts.
4
  For the sake of clarity, the Court notes that Plaintiff’s statement of material facts in support of his motion for
summary judgment does not contain number 1 or number 85, so these numbers are not included in the Court’s
analysis.
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                  b. Statements in Excess of 80 Paragraphs

          As discussed, Plaintiff’s statement of material facts contains a multitude of different styles of

paragraph numbers, letters, and bullet points. All together, these paragraphs exceed the 80-paragraph

limit. While the Court will not count the paragraphs that were stricken for duplicative numbering (nor

the several subparagraphs included under paragraph number 20 on page 3 of the statement of material

facts) toward the 80-paragraph limit, the Court will strike any statements in excess of 80 paragraphs.

Accordingly, the Court strikes Plaintiff’s Statement Nos. 102– 108 on page 13.

                  c.   Failure to Properly Cite Evidentiary Material 5

          Here, Plaintiff’s Statement Nos. 2, 3, 5–7, 20-bullet point 1, 20-bullet point 3, 20B, 20C, 21,

27, 76, 79–81, 83, 88, and 96–101 do not include citation to any evidentiary material in support of the

statement. Additionally, Plaintiff’s Statement Nos. 12, 13, 17, 18– 20, 20– bullet points 2 and 3, 20A,

22–24, 26, 28, 35, 40, 69, 73– 75, 82, 87, 91, 93, and 95 fail to cite to a specific page number in the

cited evidence as required by the Local Rules. See L.R. 56.1(d)(2). Lastly, Plaintiff’s Statement No. 25

fails to cite evidentiary material that supports the proffered statement. Therefore, the Court strikes

these statements.

                  d. Failure to Cite Numbered Exhibits

          Plaintiff’s Statement Nos. 4, 8–11, 14–16, 29–34, 36–39, 41–44, 64–68, 70–72, 78, 84, 86, 89,

90, 92, and 94 fail to cite numbered exhibits in reference to the cited material. Accordingly, the Court

strikes these statements as well. 6

    II.       Discovery Violations


5
  Defendant argues that Plaintiff’s statement of material facts is not supported substantively by the cited
material. In an effort to conserve the already exorbitant judicial resources that have been spent on this matter,
the Court will focus its analysis on Plaintiff’s failure to abide by the procedural requirements of L.R. 56.1.
6
  The Court notes that Plaintiff’s Statement Nos. 31–34, 38, 41, 64, 66, 92, and 94 include exhibit numbers in
addition to the document name. The exhibit numbers, however, do not reflect the correct document that
Plaintiff offers in support of the material statement. Furthermore, the exhibit numbers do not contain specific
page numbers in violation of the Local Rules.
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           A large portion of Plaintiff’s summary judgment materials are dedicated to putting forth

allegations of discovery violations against Defendant. These claims are not only baseless, but they are

entirely frivolous. Not only did Magistrate Judge Fuentes go to incredible lengths in overseeing

discovery of this matter, ruling on objections to discovery throughout the referral (see Dkt. 79, 85), but

this Court also engaged in discovery practice with the parties following the termination of the

magistrate referral. Specifically, the Court re-opened discovery and allowed Plaintiff the opportunity

to take depositions and submit additional discovery requests to the Court to determine whether any

additional discovery was necessary. (See Dkt. 153, 159.) Plaintiff filed additional discovery requests

and failed to notice and take depositions by the Court-imposed deadline. The Court ruled on

Plaintiff’s additional discovery requests, finding that Plaintiff received all relevant discovery. (See Dkt.

175.) Additionally, Plaintiff’s failure to take depositions, before discovery initially closed and when

the Court reopened discovery, was his personal choice, not the result of any unjust rulings or discovery

violations. Plaintiff’s discovery arguments are completely meritless. Any argument that Defendant

engaged in discovery violations, much less Rule 37 sanctionable conduct, is preposterous and will not

be considered in the Court’s ruling.

    III.      Undisputed Facts

           Because Plaintiff has failed to properly assert statements of material fact in his summary

judgment materials per Local Rule 56.1, the Court will adopt the undisputed facts as proffered by

Defendant.

           1. Plaintiff’s Employment with Defendant AbbVie

           Plaintiff began working for Defendant in 2017 as a Scientist I. He held the same position until

he was terminated on October 25, 2022. As a Scientist I, Plaintiff was tasked with implementing and

running tests of Defendant’s pipeline cancer drugs on animals “to see if they work.”

                  a. Defendant’s Commitment to the Ethical Treatment of Animals in Laboratory Facilities

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        During Plaintiff’s employment, Defendant maintained a Code of Business Conduct (the

“Code”) which outlines Defendant’s commitment to abiding by applicable regulations and standards

for the humane treatment of animals for research use. Defendant also adhered to the Rodent Solid

Tumor Endpoints & Oversight Expectation (the “Expectation”). The Expectation describes the

professional and ethical obligations of complying with animal welfare guidelines and protocols when

handling animals in a research and testing environment. Plaintiff was aware of and receiving training

on the Code and the Expectation. In addition to scientists, Defendant also employs veterinarians and

animal care technicians who are responsible for overseeing the well-being of lab animals. These

employees are regularly in the lab and vivarium to ensure that research scientists, such as Plaintiff, are

exhibiting the appropriate levels of animal welfare in their research work.

        Defendant also established the Institutional Animal Care & Use Committee (“IACUC”),

required by federal mandate for all companies that use certain live or dead animals for research and

testing purposes. IACUC, an eleven-member group which includes three non-Defendant employes

who are neither veterinarians nor animal laboratory technicians, oversees and evaluates all aspects of

“the animal care and use programs.” Any individual who has an animal welfare complaint can

anonymously raise the issue to IACUC. IACUC, in turn, reviews animal welfare complaints and

determines whether such complaints warrant further action, “such as a response from leadership or

the employee.”

                 b. Plaintiff’s Animal Welfare Complaints

        From 2018 to October 25, 2022, IACUC received more animal welfare complaints regarding

Plaintiff than any other employee. Starting in 2018, Plaintiff was first banned from going into the

vivarium “for a week or two” based on IACUC’s investigation into animal welfare complaints

regarding Plaintiff. In the middle of 2020, IACUC, again in response to animal welfare complaints,

placed Plaintiff on probation for “two to three months.” IACUC suspended Plaintiff from all animal

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activities “until further notice” on December 16, 2021, and issued a memorandum to notify Plaintiff

of the suspension (the “December 16 Memorandum”). The December 16 Memorandum stated that

Plaintiff’s suspension was “based on incidents of significant protocol non-compliance and negligent

behavior that resulted in compromised animal health and welfare.” The December 16 Memorandum

mentioned Plaintiff’s prior animal welfare issues. After two weeks, Plaintiff was permitted to work

with animals, but could only do so under the supervision of animal care technicians. Plaintiff received

additional training and oversight in January 2021 for the continued animal welfare complaints.

        On October 21, 2022, IACUC permanently banned Plaintiff from working with animals and

issued another memorandum to notify Plaintiff of the permanent ban (the “October 21

Memorandum”). The October 21 Memorandum stated that the ban was “based on on-going incidents

of dereliction of attentiveness to processes and procedures in place to ensure appropriate care for

research animals under [Plaintiff’s] responsibility.” It gave numerous examples of additional animal

welfare complaints by Plaintiff since the December 16 suspension. Once IACUC permanently banned

Plaintiff from working with animals, he could no longer perform the essential functions of his job.

Because Plaintiff could not perform his job duties, he was terminated on October 25, 2022.

                c.   Plaintiff’s Performance Ratings

        Defendant gives its employees an annual performance rating ranging from 1 to 5, with 1 being

the lowest and 5 being the highest rating. From 2018– 2021, Plaintiff received the following ratings

for each respective year: 2, 3, 2, and 2. Plaintiff disagreed with each annual rating.

        2. Plaintiff’s Protected Conduct

        Plaintiff’s first internal complaint of discrimination or retaliation occurred in March 2019 and

his last complaint occurred in March 2021. Defendant investigated Plaintiff’s complaints and

determined the claims to be unfounded. Plaintiff filed his first charge of discrimination with the Equal

Employment Opportunity Commission (“EEOC”) on February 22, 2021, and his second, and final,

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EEOC charge of discrimination on December 30, 2021. IACUC was unaware of the internal

complaints and the charges of discrimination.

         3. Similarly Situated Employees

         Defendant claims G.M. is a similarly situated employee to Plaintiff. Like Plaintiff, G.M. is also

of Indian origin. G.M. began as a Scientist, Pharmacology, and was later promoted to Scientist II,

Pharmacology and then to Senior Scientist I, Pharmacology. Plaintiff reported to Dan Albert from

2017 until August 2022. G.M. was the only employee, other than Plaintiff, that Albert supervised

during the relevant time period.

         Plaintiff claims L.M., a Chinese employee, is similarly situated to him. L.M. reported to Keith

Hamel during the relevant time period. L.M. began as a Scientist I and was promoted to Scientist II.

From 2018– 2021, L.M. received the following performance ratings for each respective year: 4, 4, 3,

and 3.

LEGAL STANDARD

         Summary judgment is appropriate “if the movant shows that there is no genuine dispute as to

any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a);

Celotex Corp. v. Catrett, 477 U.S. 317, 322–23, 106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986). A genuine

dispute as to any material fact exists if “the evidence is such that a reasonable jury could return a

verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248, 106 S. Ct. 2505,

2510, 91 L. Ed. 2d 202 (1986). When determining whether a genuine issue of material fact exists, the

Court must view all evidence and draw all reasonable inferences in favor of the nonmoving party. Id.

at 255; Hackett v. City of South Bend, 956 F.3d 504, 507 (7th Cir. 2020). After “a properly supported

motion for summary judgment is made, the adverse party ‘must set forth specific facts showing that

there is a genuine issue for trial.’” Anderson, 477 U.S. at 255 (citation omitted).

DISCUSSION

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        As an initial matter, Plaintiff offers a plethora of cases in his summary judgment pleadings that

do not support the statement or legal principle for which it is cited as support. During oral arguments,

Plaintiff admitted to the use of artificial intelligence technologies, in violation of the Court’s standing

order, in drafting his pleadings. While the Court commends Plaintiff for his honesty, the Court cannot

turn a blind eye to this behavior and must take this violation, as well as Plaintiff’s lack of relevant or

accurate case law into consideration in resolving these motions.

        The parties dispute the proper time period that should apply to Plaintiff’s claims for statute of

limitations purposes. Defendant argues that any claims prior to April 28, 2020, 300 days before the

filing of Plaintiff’s February 22, 2021 EEOC charge of discrimination, are barred by the statute of

limitations. Plaintiff contends that the continuing violations doctrine applies and allows Plaintiff to

bring claims for actions that occurred prior to April 28, 2020. Because Plaintiff does not explain why

the continuing violations doctrine applies to his claims, the Court finds the argument is waived.

Schaefer v. Universal Scaffolding & Equipment, LLC, 839 F.3d 599, 607 (7th Cir. 2016) (“[P]erfunctory and

underdeveloped arguments are waived, as are arguments unsupported by legal authority.”). The Court

dismisses any of Plaintiff’s claims to the extent such claims concern events or actions prior to April

28, 2020.

  I.    National Origin Discrimination

        Plaintiff alleges national origin discrimination under Title VII. In evaluating the merits of an

employment discrimination action, the Seventh Circuit has ruled that the ultimate question is whether

the evidence would allow a reasonable factfinder to conclude that the plaintiff’s protected

characteristic caused the adverse employment action. See Ortiz v. Werner Enterprises, Inc., 834 F.3d 760,

765 (7th Cir. 2016). In presenting this evidence, a plaintiff may utilize the McDonnell Douglas burden-

shifting framework or demonstrate that, in considering all relevant evidence, a reasonable factfinder

must conclude that the employer engaged in an adverse action based on such protected characteristic.

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See McDaniel v. Progress Rail Locomotive, Inc., 940 F.3d 360, 368 (7th Cir. 2019). Under the McDonnell

Douglas framework, a plaintiff must provide evidence that (1) he is a member of a protected class; (2)

his job performance met the employer’s legitimate expectations; (3) he experienced an adverse

employment action; and (4) a similarly situated person outside his protected class received more

favorable treatment. Coleman v. Donahoe, 667 F.3d 835, 845 (7th Cir. 2012). If the plaintiff meets each

element, the burden shifts to the defendant to articulate a legitimate, non-discriminatory reason for

the adverse action. See McDaniel, 940 F.3d at 368. If defendant can do so, the burden shifts back to

plaintiff to offer evidence that defendant’s explanation is pretextual. See id. at 368.

        The parties dispute the second and fourth prong of the McDonnell Douglas framework.

Defendant argues that Plaintiff cannot show that he suffered national origin discrimination because

his job performance did not meet Defendant’s legitimate expectations and there was no similarly

situated person outside his protected class that received more favorable treatment. Defendant

contends that the only similarly situated employee, G.M., was also of Indian origin and received

promotions, unlike Plaintiff. Plaintiff argues that he was meeting Defendant’s legitimate expectations

as he received positive reviews before engaging in protected activity. Plaintiff claims that any low

performance reviews were manipulated in order for Defendant to justify its adverse actions. Plaintiff

also contends that Defendant applied a stricter scrutiny to Plaintiff compared to non-Indian

employees, such as L.M., an Asian employee.

        As to the second McDonnell Douglas prong, whether Plaintiff’s job performance met

Defendant’s legitimate expectations, the Court finds the uncontested facts show that Plaintiff’s job

performance fell far short of any legitimate expectations. The record shows that from 2018 to 2021,

Plaintiff received a 2, 3, 2, and 2 for his annual performance ratings for each respective year. Plaintiff’s

assertion that he received positive reviews before engaging in protected activity is completely

unsupported by the record. Moreover, Plaintiff’s argument that his performance reviews were

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“manipulated” are likewise threadbare and unsupported by the evidence. Indeed, the opposite proves

to be true: Plaintiff had the highest number of animal welfare complaints out of all employees and had

several disciplinary actions taken against him due to the complaints. The Court, therefore, finds that

Plaintiff’s job performance fell short of Defendant’s legitimate expectations.

        As to the fourth McDonnell Douglas prong, whether a similarly situated person outside Plaintiff’s

protected class received more favorable treatment, the Court finds that Plaintiff fails to satisfy this

prong as well. An employee is “similarly situated” to a plaintiff if he is “directly comparable in all

material respects.” Ineichen v. Ameritech, 410 F.3d 956, 960 (7th Cir. 2005). This requires a plaintiff to

show not only that the employee reported to the same supervisor, engaged in the same conduct, and

had the same qualifications, but also that no differentiating or mitigating circumstances existed that

would distinguish the employer’s treatment of the plaintiff. Ineichen, 410 F.3d at 960-61.

        Plaintiff’s proffered comparator, L.M., is not a “similarly situated employee.” As the record

shows, L.M. had a different supervisor, higher performance ratings, and did not engage in similar

misconduct to Plaintiff. At oral argument, Plaintiff presented additional argument that L.M. was a

sufficient comparator because L.M. and Plaintiff were in the same larger department. However,

Plaintiff fails to cite any caselaw to support that merely belonging to the same department satisfies the

“similarly situated” threshold to establish a discrimination cause of action under the McDonnell Douglas

framework. While Plaintiff offers two incident reports related to L.M., this documentation is not

enough to show that any misconduct L.M. engaged in rose to the level of, or was as repetitive as,

Plaintiff’s record of misconduct. Indeed, the undisputed facts demonstrate that IACUC received the

highest number of reported animal welfare complaints regarding Plaintiff than any other employee

during the relevant time period.

        The Court finds that Defendant’s proffered comparator, G.M., is more “similarly situated” to

Plaintiff. G.M. reported to the same supervisor and was promoted twice during Plaintiff’s tenure,

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while Plaintiff was not promoted. However, G.M. is also of Indian origin, which makes him an

improper comparator. See Jordan v. City of Gary, Ind., 396 F.3d 825, 833 (7th Cir. 2005) (finding plaintiff

failed to establish a prime facie case for discrimination where proffered comparator was from the same

protected class). The Court finds that there was no similarly situated individual that received more

favorable treatment than Plaintiff outside his protected class.

         As Plaintiff failed to carry his burden to establish a prima facie case of discrimination under the

McDonnell Douglas framework, the Court grants Defendant’s motion for summary judgment and denies

Plaintiff’s motion for summary judgment on Plaintiff’s national origin discrimination claim.

 II.     Retaliation

         To prevail on a retaliation claim in an employment discrimination case, a plaintiff must prove

that (1) she engaged in an activity protected by the statute; (2) she suffered an adverse employment

action; and (3) there is a causal link between the protected activity and adverse action. Lesiv v. Ill.

Central Railroad Co., 39 F.4th 903, 911 (7th Cir. 2011). The parties dispute the second and third prong

of the retaliation analysis. For the following reasons, the Court grants Defendant’s motion for

summary judgment and denies Plaintiff’s motion for summary judgment as to Plaintiff’s retaliation

claim.

         For the second prong, whether Plaintiff suffered an adverse employment action, Plaintiff

claims that the poor performance reviews, his “performance improvement plan,” the mandatory

additional animal-welfare training, and eventual termination all constitute adverse employment

actions. Defendant argues that only termination qualifies as an adverse employment action. The

Court agrees. See de la Rama v. Ill. Dept. of Human Services, 541 F.3d 681, 686 (7th Cir. 2008) (“[N]egative

performance evaluations . . . are not cognizable adverse employment actions.”); Watson v. Potter, 23

Fed. App’x 560, 564 (7th Cir. 2001) (“Requiring [plaintiff] to attend [additional training] was

reasonable and legitimate.”); Abebe v. Health and Hospital Corp. of Marion Cnty., 35 F.4th 601, 607 (7th

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Cir. 2022) (“Performance improvement plans . . . are not . . . adverse employment actions.”) In

determining whether Plaintiff adequately pleads retaliation, the Court will only consider Plaintiff’s

termination as the adverse employment action.

        As to the third prong, whether there is a causal link between the protected activity and adverse

employment action, Plaintiff claims that the temporal proximity of his protected conduct and

termination establish a causal link. But “suspicious timing alone rarely is sufficient to create a triable

issue.” Moser v. Ind. Dept. of Corrections, 406 F.3d 895, 905 (7th Cir. 2005). Here, Plaintiff was terminated

on October 25, 2022. Prior to his termination, the most recent protected activity Plaintiff engaged in

was the filing of his second EEOC charge of discrimination on December 31, 2021, 10 months prior

to the termination. Ten months is too long of a gap between the protected activity and adverse action

to find a causal link to support Plaintiff’s retaliation claim. Tomanovich v. City of Indianapolis, 4576 F.3d

656, 665 (7th Cir. 2006) (finding a period of four months between the protected activity and adverse

action too long to establish a causal link to support a retaliation claim).

CONCLUSION

        For these reasons, the Court grants Defendant’s motion for summary judgment [139] and

denies Plaintiff’s motion for summary judgment [232, 235, 236]. Civil case terminated.

IT IS SO ORDERED.

Date: 6/2/2025

                                                  Entered: _____________________________
                                                           SHARON JOHNSON COLEMAN
                                                           United States District Judge




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